

Vella v Vella (2023 NY Slip Op 00555)





Vella v Vella


2023 NY Slip Op 00555


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, CURRAN, BANNISTER, AND MONTOUR, JJ.


839 CA 22-00467

[*1]FRANK A. VELLA, PLAINTIFF-APPELLANT,
vIRYNA M. VELLA, DEFENDANT-RESPONDENT. (APPEAL NO. 1.) 






KELLY WHITE DONOFRIO LLP, ROCHESTER (DONALD A. WHITE OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
MARILYN J. PALUMBO, ROCHESTER, FOR DEFENDANT-RESPONDENT.


	Appeal from a judgment of the Supreme Court, Monroe County (Richard A. Dollinger, A.J.), entered February 5, 2021 in a divorce action. The judgment, inter alia, incorporated by reference the parties' prenuptial agreement. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Vella v Vella ([appeal No. 3] — AD3d — [Feb. 3, 2023] [4th Dept 2023]).
Entered: February 3, 2023
Ann Dillon Flynn
Clerk of the Court








